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06
                               UNITED STATES DISTRICT COURT
07                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
08

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )             Case No. CR06-106-RSM-JPD
                                          )
11         v.                             )
                                          )             DETENTION ORDER
12   NORMAN CHUA GONZALES,                )
                                          )
13               Defendant.               )
     ____________________________________ )
14
     Offenses charged:
15
            Count 1: Conspiracy to Commit Bank Fraud in violation of 18 U.S.C. § 1344.
16
            Count 2: Theft of Mail by Postal Employee in violation of 18 U.S.C. § 1709.
17
     Date of Detention Hearing: April 4, 2006.
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
20
     that no condition or combination of conditions other than detention will reasonably assure the
21
     appearance of defendant as required and the safety of the community.
22
           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            (1)     Defendant’s criminal-background history reveals several offenses involving the
24
     use of controlled substances.
25

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (2)     Defendant’s wife reported he admitted using methamphetamine, and believes he

02 may be currently using methamphetamine.

03         (3)     Defendant has continued a pattern of economic crimes that appear to be related

04 to his substance abuse.

05         (4)     Defendant is scheduled for sentencing for two separate offenses of forgery.

06         (5)     Defendant has failed to appear on five occasions.

07         (6)     There are no conditions or combination of conditions other than detention that

08 will ensure the economic safety of the community or the appearance of the defendant.

09         IT IS THEREFORE ORDERED:

10         (1)     Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a correction facility separate, to the extent

12                 practicable, from persons awaiting or serving sentences or being held in custody

13                 pending appeal;

14         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

15                 counsel;

16         (3)     On order of a court of the United States or on request of an attorney for the

17                 government, the person in charge of the corrections facility in which defendant

18                 is confined shall deliver the defendant to a United States Marshal for the purpose

19                 of an appearance in connection with a court proceeding; and

20         (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United States

22                 Pretrial Services Officer.



                                                         A
23                 DATED this 4th day of April, 2006.

24
                                                         JAMES P. DONOHUE
25                                                       United States Magistrate Judge
26

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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     DETENTION ORDER                                                       15.13
     18 U.S.C. § 3142(i)                                                Rev. 1/91
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